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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 16-cv-62691-Dimitrouleas/Snow

   JOHNNIE RAY MILLER, JR.,

                  Plaintiff,
   v.

   LANDAMERICA HOLDINGS & INVESTMENTS
   GROUP, LLC D/B/A LANDAMERICA HOMES,
   VINCENT T. PRINCE, TERRY COLEY,

               Defendants.
   __________________________________________/

               PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

           Plaintiff, JOHNNIE RAY MILLER, JR. (“Miller”) by and through the undersigned

   counsel, pursuant to Fed. R. Civ. P. 56 and L.R. 56.1, hereby files this motion seeking judgment

   as a matter of law that (1) Defendant LANDAMERICA HOLDINGS & INVESTMENTS

   GROUP, LLC D/B/A LANDAMERICA HOMES (“LandAmerica”) is a covered enterprise under

   the Fair Labor Standards Act (“FLSA”), and (2) that Defendants VINCENT T. PRINCE (“Prince”)

   and TERRY COLEY (“Coley”) are individually liable for LandAmerica’s liability under the

   FLSA; in support, Plaintiff states the following:

        I. Statement of Material Facts

   1.      LandAmerica was formed in July 2004, in the State of Florida, as a limited liability

   company. It has been an active Florida limited liability company continuously since November

   2007. LandAmerica’s current place of business is located at 2200 North Commerce Parkway, Suite




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   200, Weston, Florida 33236. The owners of LandAmerica include Vincent T. Prince and Terry

   Coley. Prince Sworn Statement [DE 21-1] at ¶¶ 1-2; Coley Sworn Statement [DE 21-1] at ¶¶ 1-2.

   2.        LandAmerica is a real estate and land developer. Prince and Coley are managing members

   of LandAmerica and control the business affairs of LandAmerica. Prince Sworn Statement [DE

   21-1] at ¶¶ 2; Coley Sworn Statement [DE 21-1] at ¶¶ 2-3.

   3.        Miller and coworker Larry Darnell Mitchell (“Mitchell”) were employed by LandAmerica

   on the Casa Del Sol project in West Palm Beach, Florida. Miller Affidavit at ¶ 3; Mitchell Affidavit

   at ¶ 3.

   4.        Coley hired both Miller and Mitchell. Miller Affidavit at ¶¶ 4-5; Mitchell Affidavit at

   ¶¶ 4-5.

   5.        The Casa Del Sol project was the construction of 34 townhomes, and is worth

   approximately $10 million. Miller Affidavit at ¶ 3; Mitchell Affidavit at ¶ 3.

   6.        LandAmerica employed Miller as a back-hoe operator and laborer. Miller Affidavit at ¶ 4;

   Mitchell Affidavit at ¶ 4.

   7.        LandAmerica employed Mitchell as an engineer. Miller Affidavit at ¶ 5; Mitchell Affidavit

   at ¶ 5.

   8.        Miller and Mitchell worked for LandAmerica during the period of approximately March

   23, 2016 through April 8, 2016. Miller Affidavit at ¶ 6; Mitchell Affidavit at ¶ 6.

   9.        Miller and Mitchell were not employed by Top Dog Plumbing or Melvin King. Miller

   Affidavit at ¶ 7; Mitchell Affidavit at ¶ 7.




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   10.     Prince and Coley supervised Miller and Mitchell’s duties, directed and controlled their

   work and schedule, and were directly responsible for paying their compensation. Miller Affidavit

   at ¶ 8; Mitchell Affidavit at ¶ 8.

   11.     On or about April 1, 2016, Miller, Mitchell, and Coley, traveled to a Bank of America

   bank. At the bank, Coley paid Miller and Mitchell $200.00 each as partial payment for work they

   performed on the Casa Del Sol project. Miller Affidavit at ¶ 9; Mitchell Affidavit at ¶ 9.

   12.     Miller was paid another $150.00 in cash by Prince and Coley during Miller’s employment

   with LandAmerica. Miller Affidavit at ¶ 10; Mitchell Affidavit at ¶ 10.

   13.     “Top Dog Plumbing” is a fake company made up by Melvin King. Melvin King does not

   own any corporate entity registered with the State of Florida called “Top Dog Plumbing.” Melvin

   King simply calls himself “Top Dog Plumbing” and does small odd jobs in and around the Miami

   Gardens area of South Florida. Miller Affidavit at ¶ 11; Mitchell Affidavit at ¶ 11.

   14.     Miller and Mitchell are not aware of any bank accounts owned by Melvin King. Anytime

   Melvin King was given a check for plumbing work, he would cash it at a check cashing store.

   Miller Affidavit at ¶ 12; Mitchell Affidavit at ¶ 12.

   15.     Miller and Mitchell did not work for Melvin King or his fictitious company “Top Dog

   Plumbing.” Miller Affidavit at ¶ 13; Mitchell Affidavit at ¶ 13.

   16.     During Miller’s employment with LandAmerica, Miller operated a backhoe manufactured

   by J.C. Bamford Excavators Limited (“JCB”). The JCB backhoe was manufactured in Georgia.

   Miller Affidavit at ¶ 14; Mitchell Affidavit at ¶ 14.

   17.     LandAmerica rented the JCB backhoe that Miller used from Sunbelt Rentals. Miller

   Affidavit at ¶ 15; Mitchell Affidavit at ¶ 15.
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   18.     Coley, on behalf of LandAmerica, ordered and had delivered to the Casa Del Sol project

   plumbing pipes that were manufactured in North Carolina. Miller Affidavit at ¶ 16; Mitchell

   Affidavit at ¶ 16.

   19.     Coley, on behalf of LandAmerica, rented U-Haul vans to transport tools, supplies, and

   equipment for use on the Casa Del Sol project. These items included spray paint, safety vests,

   safety helmets, shovels, measuring rollers, blueprints, ground stakes and other items. These items,

   and the Ford U-Haul van, were manufactured outside Florida. Miller and Mitchell drove and rode

   in the U-Haul van and handled the materials in the U-Haul van. Miller Affidavit at ¶ 17; Mitchell

   Affidavit at ¶ 17.

   20.     LandAmerica, Prince, and Coley dictated Miller’s and Mitchell’s work schedules.

   LandAmerica, Prince, and Coley required Miller and Mitchell to report to work at 8:00 AM and

   Miller and Mitchell were not allowed to leave work until 4:00 PM. Miller Affidavit at ¶ 18; Mitchell

   Affidavit at ¶ 18.

   21.     Prince and Coley supervised Miller’s and Mitchell’s work and duties, inspected the work

   Miller and Mitchell did, and made sure Miller and Mitchell were performing their work to Prince

   and Coley’s specifications. Prince and Coley regularly performed site checks on the jobsite. Miller

   Affidavit at ¶ 19; Mitchell Affidavit at ¶ 19.

   22.     Neither Miller nor Mitchell managed other people or otherwise had management duties.

   Miller and Mitchell’s opportunities’ to earn compensation were limited to LandAmerica’s,

   Prince’s, and Coley’s assignment of work for Miller and Mitchell to perform. Miller Affidavit at ¶

   20; Mitchell Affidavit at ¶ 20.



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   23.      Prince told Miller and Mitchell that their rates of pay for working on the Casa Del Sol

   project would be $150 per day. Miller Affidavit at ¶ 21; Mitchell Affidavit at ¶ 21.

   24.      During Miller’s employment, when he complained to Prince about not receiving his pay,

   Prince responded, “Nigga, don’t worry, LandAmerica makes more than a million dollars a year.

   You’ll get your money.” Miller Affidavit at ¶ 22.

   25.      LandAmerica provided Miller’s and Mitchell’s tools, supplies, and equipment necessary

   to do their work at Casa Del Sol. Miller Affidavit at ¶ 23; Mitchell Affidavit at ¶ 22.

   26.      Prince handled payroll for LandAmerica. Prince’s Response to Plaintiff’s First Request for

   Admissions at ¶ 1.

   27.      Prince was responsible for paying employees of LandAmerica. Prince’s Response to

   Plaintiff’s First Request for Admissions at ¶ 3.

   28.      Prince managed the day-to-day operations of LandAmerica. Prince’s Response to

   Plaintiff’s First Set of Interrogatories at ¶¶ 2-3.

   29.      Prince is a managing member of LandAmerica, and his duties include bookkeeping,

   accounting and other financial matters, such as paying vendors, employees, etc. Prince’s Response

   to Plaintiff’s First Request for Admissions at ¶ 6.

   30.      Prince and Coley, along with other members of LandAmerica’s management, collectively

   manage the operations of LandAmerica together. Prince’s Response to Plaintiff’s First Request

   for Admissions at ¶¶ 7 and 8.

         II. Standard of Review

            Federal Rule of Civil Procedure 56(a) provides that “[t]he court shall grant summary

   judgment if the movant shows that there is no genuine dispute as to any material fact and the
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   movant is entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a). The moving party bears

   the initial burden of establishing that no genuine issues of material fact remain. Celotex Corp. v.

   Catrett, 477 U.S. 317 (1986). “If the non-moving party fails to show a genuine issue exists,

   summary judgment should be granted.” Herman v. City of St. Petersburg, 131 F. Supp. 2d 1329

   (M.D. Fla. 2001) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986)).

      III. The Fair Labor Standards Act

          The FLSA was enacted in 1938 to ensure that every employee receives “a fair day’s pay

   for a fair day’s work.” A.H. Phillips v. Walling, 324 U.S. 490, 493 (1945) (quoting address to

   Congress by Franklyn D. Roosevelt in 1937). In light of the FLSA’s broad remedial purposes, it

   is well settled that the FLSA is to be liberally construed to apply to the furthest reaches consistent

   with congressional direction. See Biggs v. Wilson, 1 F.3d 1537 (9th Cir. 1993). The FLSA requires

   that employees be paid minimum wage for their work, and that employees who work more than

   forty hours per week receive overtime compensation at the rate of “time and a half” for every hour

   over forty. 29 U.S.C. § 207(a)(1) and (e); 29 C.F.R. § 778.108. Employers who violate the overtime

   provisions of the FLSA “shall be liable to the employee or employees affected in the amount

   of…their unpaid overtime compensation…and in an additional equal amount as liquidated

   damages.” 29 U.S.C. § 216(b).

      IV. Enterprise Coverage

      FLSA’s enterprise coverage has two requirements:

                  An employer falls under the enterprise coverage section of the
                  FLSA if it 1) “has employees engaged in commerce or in the
                  production of goods for commerce, or that has employees handling,
                  selling, or otherwise working on goods or materials that have been
                  moved in or produced for commerce by any person” and 2) has at
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                  least $500,000 of “annual gross volume of sales made or business
                  done.” 29 U.S.C. § 203(s)(1)(A).

   Polycarpe v. E&S Landscaping Serv., Inc., 616 F.3d 1217, 1220 (11th Cir. 2010)

          Defendants never denied in their Answer [DE 8] the allegations in Plaintiff’s Complaint

   [DE 1] alleging FLSA’s enterprise coverage. Similarly, Defendants’ Answer never asserted any

   affirmative defense denying that FLSA’s enterprise coverage applied to LandAmerica.

          Enterprise coverage is asserted in Plaintiff’s Complaint [DE 1] at ¶ 3:

                  3. At all times material hereto, Defendant, LANDAMERICA
                  HOLDINGS & INVESTMENTS GROUP, LLC D/B/A
                  LANDAMERICA HOMES, was a Florida corporation with its
                  principal place of business in South Florida, engaged in commerce
                  in the field of land development, at all times material hereto was the
                  “employer” of Plaintiff as that term is defined under statutes
                  referenced herein, engaged along with its employees in interstate
                  commerce, and has annual gross sales and/or business volume of
                  $500,000 or more.

   Plaintiff’s Complaint [DE 1] at ¶ 3.

          Defendants’ Answer [DE 8] at ¶ 3 only denies that Plaintiff was an employee and admits

   the allegations pertaining to Defendants’ business:

                  3. Admitted in part and Denied in part. Defendants admit that
                  LandAmerica is a Florida corporation that engages in Real Estate
                  Development. However, Defendant’s vehemently denies that the
                  Plaintiff Miller was ever an employee of LandAmerica.

   Defendants’ Answer [DE 8] at ¶ 3.




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          Defendants’ Answer never denies the allegations in Plaintiff’s Complaint that

   LandAmerica “engaged in commerce in the field of land development,”1 “engaged along with its

   employees in interstate commerce,”2 and “has annual gross sales and/or business volume of

   $500,000 or more.”3 None of Defendants’ affirmative defenses assert that LandAmerica was not

   engaged in interstate commerce or did not generate $500,000 gross annual revenue.

          Pursuant to Rule 8(b)(6), Fed. R. Civ. P., enterprise coverage is deemed admitted. See Fed.

   R. Civ. P. 8(b)(6) (“An allegation—other than one relating to the amount of damages—is admitted

   if a responsive pleading is required and the allegation is not denied.”); see also, e.g., Hall v. Aetna

   Cas. and Sur. Co., 617 F.2d 1108, 1111 (5th Cir. 1980) (“Under Federal Rule of Civil Procedure

   8(d) [now Rule 8(b)(6)], the effect of [the insurer’s] failure to deny coverage under its policy was

   to admit this coverage.”); Pacific Indem. Co. v. Broward County, 465 F.2d 99, 103 (5th Cir. 1972)

   (“If the answer fails to deny an averment in the complaint it is deemed admitted.”).

          Like the insurance context in Hall—where the effect of the insurer’s failure to deny

   coverage under its policy was to admit coverage—in the present case, the effect of the employer’s

   failure to deny enterprise coverage under the FLSA was to admit enterprise coverage.




   1
     Plaintiff’s Complaint [DE 1] at ¶ 3.
   2
     Id.
   3
     Id.



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          Additionally, Miller’s employment with Defendants was on a construction project

   involving 34 townhomes and worth approximately $10 million.4 Prince admitted to Miller that

   LandAmerica generates more than $1 million per year.5

          Miller and Mitchell were employees of LandAmerica. LandAmerica, Prince, and Coley

   dictated Miller’s and Mitchell’s work schedules.6 LandAmerica, Prince, and Coley required Miller

   and Mitchell to report to work at 8:00 AM and Miller and Mitchell were not allowed to leave work

   until 4:00 PM.7 Prince and Coley supervised Miller’s and Mitchell’s work and duties, inspected

   the work Miller and Mitchell did, and made sure Miller and Mitchell were performing their work

   to Prince and Coley’s specifications.8 Prince and Coley regularly performed site checks on the

   jobsite. Neither Miller nor Mitchell managed other people or otherwise use management duties.

   Miller and my opportunities’ to earn compensation were limited to LandAmerica’s, Prince’s, and

   Coley’s assignment of work for us to perform.9 Prince told Miller and Mitchell that our rates of

   pay for working on the Casa Del Sol project would be $150 per day.10 LandAmerica provided

   Miller’s and Mitchell’s tools, supplies, and equipment necessary to do their work at Casa Del Sol.11




   4
     Plaintiff’s Statement of Material Facts at ¶ 5.
   5
     Id. at ¶ 24.
   6
     Id. at ¶ 20.
   7
     Id.
   8
     Id. at ¶ 21.
   9
     Id.
   10
      Id. at ¶ 23.
   11
      Id. at ¶ 25.



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           Miller and Mitchell handled tools, supplies, and equipment that were manufactured outside

   Florida. During Miller’s employment with LandAmerica, Miller operated a backhoe manufactured

   by J.C. Bamford Excavators Limited (“JCB”).12 The JCB backhoe was manufactured in Georgia.13

   LandAmerica rented the JCB backhoe that Miller used from Sunbelt Rentals.14 Coley, on behalf

   of LandAmerica, ordered and had delivered to the Casa Del Sol project plumbing pipes that were

   manufactured in North Carolina.15

           Coley, on behalf of LandAmerica, rented U-Haul vans to transport tools, supplies, and

   equipment for use on the Casa Del Sol project.16 These items included spray paint, safety vests,

   safety helmets, shovels, measuring rollers, blueprints, ground stakes and other items.17 These

   items, and the Ford U-Haul van, were manufactured outside Florida.18 Miller and Mitchell drove

   and rode in the U-Haul van and handled the materials in the U-Haul van. Miller Affidavit at ¶ 17;

   Mitchell Affidavit at ¶ 17.19

           Accordingly, FLSA’s enterprise coverage applies.




   12
      Plaintiff’s Statement of Material Facts at ¶ 16.
   13
      Id.
   14
      Id. at ¶ 17.
   15
      Id. at ¶ 18.
   16
      Id. at ¶ 19.
   17
      Id.
   18
      Id.
   19
      Id.
                                                         10
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         V. Individual Liability

             The standard for Defendants Vincent T. Prince and Terry Coley to be

   individually liable is as follows:


                     An employer is defined as “any person acting directly or indirectly
                     in the interest of an employer in relation to an employee.” 29 U.S.C.
                     § 203(d). To determine whether an individual is an employer under
                     the FLSA, and thus individually liable for an FLSA violation, a
                     court must examine the “economic reality” of the relationship
                     between the parties. Villareal v. Woodham, 113 F.3d 202, 205 (11th
                     Cir.1997). Factors include whether the individual: “(1) had the
                     power to hire and fire the employees, (2) supervised and controlled
                     employee work schedules or conditions of employment, (3)
                     determined the rate and method of payment, and (4) maintained
                     employment         records.” Id. (citations    omitted).   “To     be
                     personally liable, an officer must either be involved in the day-to-
                     day operation or have some direct responsibility for the supervision
                     of the employee.” Patel v. Wargo, 803 F.2d 632, 638 (11th
                     Cir.1986). Whether an individual is an employer within the meaning
                     of the FLSA “does not depend on technical or isolated factors but
                     rather on the circumstances of the whole activity.” Alvarez Perez v.
                     Sanford–Orlando Kennel Club, Inc., 515 F.3d 1150, 1160 (11th
                     Cir.2008) (internal quotation marks and citation omitted).

   Rubio v. Fuji Sushi & Teppani, Inc., 6:11-CV-1753-ORL-37, 2013 WL 230216, at *5 (M.D. Fla.

   Jan. 22, 2013).

             Prince and Coley are managing members of LandAmerica and control the business affairs

   of LandAmerica.20 Coley hired Miller and Mitchell.21 Prince and Coley supervised Miller and




   20
        Plaintiff’s Statement of Material Facts at ¶ 2.
   21
        Id. at ¶ 4.



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   Mitchell’s duties, directed and controlled their work and schedule, and were directly responsible

   for paying their compensation.22 Coley directly paid Miller and Mitchell.23 Coley directly ordered

   parts for LandAmerica’s Casa De Sol’s construction project.24 LandAmerica, Prince, and Coley

   dictated Miller’s and Mitchell’s work schedules. LandAmerica, Prince, and Coley required Miller

   and Mitchell to report to work at 8:00 AM and Miller and Mitchell were not allowed to leave work

   until 4:00 PM.25 Prince and Coley supervised Miller’s and Mitchell’s work and duties, inspected

   the work Miller and Mitchell did, and made sure Miller and Mitchell were performing their work

   to Prince and Coley’s specifications.26 Prince and Coley regularly performed site checks on the

   jobsite.27 Prince set Miller and Mitchell’s rates of pay to $150 per day for working on the Casa Del

   Sol project.28 Prince directly promised Miller that he would be paid the money he was owed:

   During Miller’s employment, when he complained to Prince about not receiving his pay, Prince

   responded, “Nigga, don’t worry, LandAmerica makes more than a million dollars a year, you’ll

   get your money.”29 Prince handled payroll for LandAmerica.30 Prince was responsible for paying




   22
      Id. at ¶ 10.
   23
      Id. at ¶ 11.
   24
      Id. at ¶ 18.
   25
      Plaintiff’s Statement of Material Facts at ¶ 20.
   26
      Id. at ¶ 21.
   27
      Id.
   28
      Id. at ¶ 23.
   29
      Id. at ¶ 24.
   30
      Id. at ¶ 26.



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   employees of LandAmerica.31 Prince managed the day-to-day operations of LandAmerica.32

   Prince is a managing member of LandAmerica, and his duties include bookkeeping, accounting

   and other financial matters, such as paying vendors, employees, etc.33 Prince and Coley, along

   with other members of LandAmerica’s management, collectively manage the operations of

   LandAmerica together.34

           Accordingly, Defendants Prince and Coley should be individually liable, jointly and

   severally, for any violations for which LandAmerica is held liable at trial.

        VI. Conclusion

           For the foregoing reasons, this Motion should be GRANTED as follows: (1) FLSA’s

   enterprise coverage applies to LandAmerica and, (2) Defendants Vincent T. Prince and Terry

   Coley are individually liable, jointly and severally, for any FLSA violations Defendant

   LandAmerica is held liable for at trial.




   31
      Id. at ¶ 27
   32
      Id. at ¶ 28
   33
      Id. at ¶ 29.
   34
      Id. at ¶ 30
                                                       13
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                                                  Respectfully submitted,

                                                  Koz Law, P.A.
                                                  320 S.E. 9th Street
                                                  Fort Lauderdale, Florida 33316
                                                  Phone: (786) 924-9929
                                                  Fax: (786) 358-6071
                                                  Email: ekoz@kozlawfirm.com




                                                  Elliot Kozolchyk, Esq.
                                                  Bar No.: 74791

                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
   on December 22, 2017 with the Clerk of Court using CM/ECF along with having served all counsel
   of record or pro se parties identified on the service list incorporated herein in the manner specified,
   either via transmission of Electronic filing generated by CM/ECF or in some other authorized
   manner for those counsel or parties not authorized to receive electronically Notice of Electronic
   Filing.
                                                   Respectfully submitted,




                                                  Elliot Kozolchyk, Esq.

                                             SERVICE LIST

          Don R. Boswell, Esq.
          Counsel for Defendant
          Akers & Boswell, P.A.
          2161 Palm Beach Lakes Blvd., Suite 407
          West Palm Beach, FL 33409
          Tel: (561) 547-6300
          Fax: (561) 828-9212
          E-mail: dboswell@akers-boswell.com




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